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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


United States of America,                                         Case No. 3:93CR746

                          Plaintiff

          v.                                                      ORDER

Craig Houston,

                          Defendant


          This is a criminal case in which the defendant has filed a petition for a writ of audita querela.

(Doc. 578). The government opposes the petition. For the reasons that follow, the petition shall be

denied.

          Historically, audita querela existed as a remedy primarily for judgment debtors. U.S. v.

Ayala, 894 F.2d 425, 427 (D.C.Cir.1990). The common law writ was typically employed by a

judgment debtor in a civil case against the execution of a judgment because of some defense or

discharge arising subsequent to the rendition of the judgment or the issue of the execution. U.S. v.

Holt, 417 F.3d 1172, 1174 (11th Cir. 2005) (internal citations omitted). Today, because it requires

satisfaction of the judgment, it can only be used when the petitioner has served his sentence and

been released from custody. Frost v. Snyder, 13 Fed.Appx. 243, 246, n.1 (6th Cir. 2001).

          Likewise, the writ of error coram nobis is used to vacate a federal sentence or conviction

when a 28 U.S.C. § 2255 motion is unavailable — generally, when the petitioner has served his

sentence completely and thus is no longer “in custody” as required for 28 U.S.C. § 2255 relief.

Blanton, supra, 94 F.3d at 231; see also U.S. v. Johnson, 237 F.3d 751, 755 (6th Cir. 2001). A
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prisoner may not seek a writ of audita querela if he “may seek redress under § 2255.” U.S. v. Banda,

1 F .3d 354, 356 (5th Cir.1993).

        Houston claims that U.S. v.Booker, 543 U.S. 220, 125 S.Ct. 738 (2005), applies to him. He

states that he was convicted and sentenced prior to Blakely v. Washington, 542 U.S. 296, 124 S.Ct.

2531 (2004), and that no case had suggested prior to that time that application of the Sentencing

Guidelines would be made advisory, not mandatory. Therefore Houston seeks “relief under the

newly created rights by the Supreme Court” to be resentenced under the advisory Sentencing

Guidelines because at his original sentencing, the Court indicated it felt the sentence it was obliged

to impose was too harsh.

        I dismiss Houston’s writ for three reasons.

        First, the extraordinary writs of audita querela and coram nobis are only applicable to the

extent they fill gaps in the system of federal post-conviction remedies. Because redress is available

with regard to the issue Houston raises is available through the federal post-conviction relief statute,

28 U.S.C. § 2255, there is no gap that needs filling. Therefore such writs do not apply. See, e.g.,

Massey v. U.S., 581 F.3d 172 (3rd Cir.2009) (audita querela not available where claim cognizable

under § 2255); see also U.S. v. Baptiste, 223 F.3d 188, 189-90 (3rd Cir. 2000) (per curiam) (prisoner

may not resort to a writ of coram nobis merely because he cannot meet gatekeeping requirements

of § 2255).

        Here, as in Frost, supra, 13 Fed.Appx. at 250, relief § 2255 is also not rendered inadequate

or ineffective simply because Houston has already been denied relief under § 2255.

        Second, because writs of audita querela and coram nobis require satisfaction of the judgment,

they can only be used when the petitioner has served his sentence and been released from custody.
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Houston has not been released from custody. See, e.g., Craven v. U.S., 26 Fed.Appx. 417, 419, 2001

WL 1590549 (6th Cir. 2001); Roman v. U.S., 2007 WL 1747160, *1 (N.D. Ohio 2007).

       Third, a writ of coram nobis petition will be granted only when the petitioner demonstrates

an error of fact unknown at the time of trial. Houston bases his writ not on an error of fact, but a on

a change in the law – the Supreme Court’s decision in Booker. “Coram nobis is an extraordinary

writ, used only to review errors of the most fundamental character — e.g., errors rendering the

proceedings themselves invalid.” U.S. v. Johnson, 237 F.3d 751, 755 (6th Cir. 2001).

       The label Houston is using in this, his most recent in a series of post-conviction challenges

to his sentence doesn not matter:

       Call it a motion for a new trial, arrest of judgment, mandamus, prohibition, coram
       nobis, coram vobis, audita querela, certiorari, capias, habeas corpus, ejectment, quare
       impedit, bill of review, writ of error, or an application for a Get-Out-of-Jail Card; the
       name makes no difference. It is substance that controls.

Melton v. U.S., 359 F.3d 855, 857 (7th Cir. 2004)(citations omitted).

       The substance of the petition is relief under Booker. Just because such relief is not otherwise

available – as it is not here – does not mean it becomes so via an extraordinary writ.

       It is, therefore,

       ORDERED THAT the petition be, and the same hereby is denied.

       So ordered.



                                                       s/James G. Carr
                                                       James G. Carr
                                                       Chief Judge
